                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


In the Matter of R.K., by and through her mother and next
friend, J.K;

and W.S., by and through her mother and
next friend, M.S.,

on behalf of those similarly situated,

        Plaintiffs,

v.                                                             Case No. _________________

GOVERNOR BILL LEE, in his official
capacity as GOVERNOR OF TENNESSEE,
WILLIAMSON COUNTY BOARD OF EDUCATION,
and FRANKLIN SPECIAL SCHOOL DISTRICT,

      Defendants.
______________________________________________________________________________

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF FOR VIOLATIONS
              OF THE AMERICANS WITH DISABILITIES ACT AND
                 SECTION 504 OF THE REHABILITATION ACT
______________________________________________________________________________

        Plaintiffs, school-age children with disabilities that render them medically vulnerable to

COVID-19, by and through their parents and next friends, bring this action for declaratory and

injunctive relief on behalf of themselves and a class of similarly situated children with disabilities

who are at severe risk of illness and injury due to their disabilities and allege as follows:




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                                      I. INTRODUCTION

       1.      This case involves students with certain disabilities1 who, by reason of these

disabilities, are more medically vulnerable to severe infection and/or death from COVID-19. For

these students to enjoy safe passage into their existing school buildings, classrooms, and

extracurricular activities,   they require the reasonable modification of universal masking

untethered to a purely voluntary parental opt-out.

       2.      The Governor’s Executive Order 84, along with the stance of Williamson County

Board of Education and the Franklin Special School District, permits a voluntary opt-out of

masking for any child based purely upon parental choice. Such an opt-out—exercised by large

numbers of students—is so gaping that it has nullified the rights of students with disabilities who

require masking of others in order to enjoy safe, fundamental, non-discriminatory access to their

public institutions. Accordingly, court action is necessary to institute a mask mandate without a

purely voluntary opt-out. This will eliminate the barrier to safe access created by Executive Order

84, and the stance of Williamson County Board of Education and Franklin Special School District,

by modifying rules, policies and practices.

       3.      With the surge of the Delta variant, the necessity for such universal masking

without a purely voluntary opt out is greater now than it has ever been. Despite infections of

COVID-19 surging throughout the state of Tennessee and Williamson County and record numbers



1
        The disabilities include: (a) lung disease, including asthma, chronic obstructive pulmonary
disease (e.g., bronchitis or emphysema), or other chronic conditions associated with impaired lung
function; (b) heart disease, such as congenital heart disease, congestive heart failure and coronary
artery disease; (c) chronic liver or kidney disease (including hepatitis and dialysis patients); (d)
diabetes or other endocrine disorders; (e) hypertension; (f) compromised immune systems (such
as from cancer, HIV, receipt of an organ or bone marrow transplant, as a side effect of medication,
or other autoimmune disease); (g) blood disorders (including sickle cell disease); (h) inherited
metabolic disorders; (i) history of stroke; (j) neurological or developmental disability; (k) cancer
or cancer treatments; and/or (l) muscular dystrophy or spinal cord injury.
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of pediatric cases of COVID-19, Defendants Governor Bill Lee, Williamson County Board of

Education, and Franklin Special School District have failed to make or permit school districts to

afford the reasonable accommodation of implementing a universal masking policy that does not

contain a voluntary opt out.

       4.      Defendants’ actions have pitted children against children, while placing the health

and safety of medically vulnerable children with disabilities in danger. This violates the federal

rights of those children under the Americans with Disabilities Act and Section 504 of the

Rehabilitation Act.

                               II. JURISDICTION AND VENUE

       5.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, 28 U.S.C.

§ 1343(a)(3), and 28 U.S.C. §§ 2201–2202.

       6.      Venue is proper in the United States District Court for the Middle District of

Tennessee, pursuant to 28 U.S.C. § 1391(b), because a substantial part of the events or omissions

giving rise to the claims occurred and continue to occur in this district.

                                           III. PARTIES

       7.      R.K., by and through her mother and next friend, J.K., brings this action on behalf

of herself and those similarly situated. R.K. is a thirteen-year-old girl who attends Williamson

County Schools. R.K., who has been identified by her school as a student with a disability, has

Down syndrome. R.K. is a resident of Williamson County, Tennessee.

       8.      W.S., by and through her mother and next friend, M.S., brings this action on behalf

of herself and those similarly situated. W.S. is a seven-year-old girl who attends the Franklin

Special School District. W.S., who has been identified by her school as a student with a disability,

has type-1 diabetes. W.S. is a resident of Williamson County, Tennessee.




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       9.      Defendant Bill Lee is the Governor of the state of Tennessee and is the head of the

Officer of the Governor. Defendant Lee enacted the executive order at issue in this action.

Defendant Lee is sued in his official capacity as the Governor of the State of Tennessee and as

head of the Office of the Governor, and he may be served with process by serving the State

Attorney General Herbert Slattery III, Office of the Attorney General either by mail to P.O. Box

20207, Nashville, Tennessee 37202, or in person at 500 Charlotte Avenue, Nashville, Tennessee

37219. The state of Tennessee and the Office of the Governor are public entities within the

meaning of the Americans with Disabilities Act, 28 C.F.R. § 35.104, and recipients of federal

financial assistance within the meaning of the Rehabilitation Act, 29 U.S.C. § 794(a).

       10.     Defendant Williamson County Board of Education is a “distinct legal entity with

the capacity to be sued for injuries incurred as a result of the execution of its statutory duties and

responsibilities.”   Thus, it is a “public entity” within the meaning of the Americans with

Disabilities Act, 28 C.F.R. §35.104, and receives federal financial assistance within the meaning

of the Rehabilitation Act, 29 U.S.C. §794(a). Williamson County Board of Education may be

served with process by serving Jason Golden, Superintendent of Williamson County Schools, at

1320 West Main St., Franklin, TN 37064.

       11.     Defendant Franklin Special School District (FSSD) is a “distinct legal entity with

the capacity to be sued for injuries incurred as a result of the execution of its statutory duties and

responsibilities.”   Thus, it is a “public entity” within the meaning of the Americans with

Disabilities Act, 28 C.F.R. §35.104, and receives federal financial assistance within the meaning

of the Rehabilitation Act, 29 U.S.C. §794(a). FSSD may be served with process by serving David

Snowden, Superintendent of FSSD, at 507 New Hwy. 96 W, Franklin, TN 37064.




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                                              IV. FACTS

                               A. THE STUDENTS WITH DISABILITIES

        12.       R.K. is a thirteen-year-old girl who attends seventh grade in Williamson County

Schools. R.K. has Down syndrome, which places her at high-risk for adverse reaction to COVID-

19 infection including death. Her cognitive abilities are substantially limited. R.K. has been

vaccinated, but R.K. has a history of such vaccines being less efficacious due to Down syndrome.

With appropriate accommodations of universal masking, she is capable of attending school in-

person like non-disabled peers.

        13.       W.S. is a second grader in the Franklin Special School District. W.S has type-1

diabetes. Her diabetes places her at significant risk of adverse reaction or death from infection

from COVID-19.         In fact, W.S. tested positive for COVID-19 after attending school with

unmasked children. The infection adversely affected her blood sugar, requiring 14 straight

intensive hours of effort and consultation with her treating physician to regulate her blood sugar

levels back to a normal range. W.S. is substantially limited in endocrine function. With appropriate

accommodations of universal masking, she is capable of attending school in-person like non-

disabled peers.

     B. COVID-19 AND ITS DELTA VARIANT SPREAD THROUGH THE BREATH OF OTHERS

        14.       COVID-19 is an extremely infectious and deadly disease that is transmitted from

person to person.

        15.       Experts agree that COVID-19 is primarily spread through respiratory droplets

emitted when people cough, sneeze, talk, or even breathe that are then inhaled by people nearby.2



2
  CDC, Scientific Brief: SARS-CoV-2 Transmission, May 7, 2021, https://www.cdc.gov/coronavirus/
2019-ncov/science/science-briefs/sars-cov-2-transmission.html (“The principal mode by which people are
infected with [COVID-19] is through exposure to respiratory fluids carrying infectious virus. Exposure
occurs in three principal ways: (1) inhalation of very fine respiratory droplets and aerosol particles, (2)
deposition of respiratory droplets and particles on exposed mucous membranes in the mouth, nose, or eye
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          16.    Asymptomatic carriers of COVID-19 can also transmit the disease. Persons who

lack symptoms of COVID-19 (“asymptomatic”) or do not yet know they have COVID-19 (“pre-

symptomatic”) may feel perfectly fine. However, they are estimated to account for more than 50%

of transmissions.3

          17.    The current, most prevalent variant of COVID-19, known as the Delta variant, is

extremely infectious and is spread much more readily than even the original SARS-CoV-2 strain.4

          18.    Since June/early July 2021, the State of Tennessee has seen a dramatic increase in

the number of COVID-19 cases, mostly driven by the rapid spread of the Delta variant. For

example, on July 14, 2021, Tennessee had an average positive test rate for COVID-19 of 6.3%.

As of September 11, 2021, that average positive test rate had grown to 19.60%.5 In that same time

period, the average daily cases per 100,000 people in Tennessee has grown from 7 to 103.6

          19.    During this period, the rate of infection among children has increased significantly.

For the week of August 22, 2021, cases among children aged between 0-18 years compromised

37.6% of all new COVID-19 infections in Tennessee. For the week that followed, 31.4% of all

new COVID-19 infections in Tennessee were pediatric cases.7


by direct splashes and sprays, and (3) touching mucous membranes with hands that have been soiled either
directly by virus-containing respiratory fluids or indirectly by touching surfaces with virus on them.”).

3
  Science Brief: Community Use of Cloth Masks to Control the Spread of SARS-CoV-2, available at
https://www.cdc.gov/coronavirus/2019-ncov/science/science-briefs/masking-science-sars-cov2.html


4
  CDC, Delta Variant: What We Know About the Science, Aug. 6, 2021, https://www.cdc.gov/
coronavirus/2019-ncov/variants/delta-variant.html (noting that the Delta variant is “more than 2x as
contagious as previous variants” and studies indicated that “patients infected with the Delta variant were
more likely to be hospitalized”).
5
    https://www.mayoclinic.org/coronavirus-covid-19/map/tennessee
6
    Id.
7
 https://www.tn.gov/content/dam/tn/health/documents/cedep/novel-coronavirus/datasets/Data-on-Cases-
among-all-Children-0-18.pdf

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          20.   From June/early-July 2021, Williamson County saw a massive spike in COVID-19

infections. On July 14, 2021, Williamson County had a seven-day average of 19 new COVID-19

cases. That number increased to 332 new infections by September 6, 2021.

          21.   Hospitals in the Middle District of Tennessee are near capacity for beds and staff

treating COVID-19.       This includes Vanderbilt Children’s Hospital, which has seen an

unprecedented surge in the number of hospitalizations for COVID-19 among children.

          22.   There is no cure for COVID-19. The vaccine is also only currently approved for

individuals 12 years and older and can prove less effective for those individuals with weakened or

compromised immune systems who are unable to produce a robust immune response to the

vaccine.

          23.   School-aged children with certain disabilities, including a range of underlying

medical conditions, face a higher rate of severe illness from COVID-19 as compared to other

children without those underlying medical conditions. According to the CDC, “children with

medical complexity, with genetic, neurologic, metabolic conditions, or with congenital heart

disease can be at increased risk for severe illness from COVID-19.”8 And as with adults who face

increased risks, “children with obesity, diabetes, asthma or chronic lung disease, sickle cell

disease, or immunosuppression can also be at increased risk for severe illness from COVID-19.”9

          24.    The schools located within Williamson County, Tennessee regularly serve

students with these exact disabilities—moderate to severe asthma, chronic lung and heart

conditions, cerebral palsy, Down syndrome, obesity, type-2 diabetes, and weakened immune




8
 Centers for Disease Control, COVID-19: People with Certain Medical Conditions, May 13, 2021,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-conditions.html
9
    Id.

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systems impact a significant portion of the population. Asthma alone impacts 9.5% of Tennessee’s

school age children.10

                          C. THE NECESSITY OF MASKING FOR SAFE ACCESS

           25.   Washing hands, cleaning surfaces, introducing new air filters are some examples

of modifications that may reduce some risk of COVID transmission. But those are not enough for

children with disabilities, and they are not even the most effective means.

           26.   For school age children who are unable to be vaccinated or whose disabilities result

in a less robust response to the vaccine, the risk of contracting COVID-19 is most successfully

mitigated through universal masking and social distancing. The ABC Science Collaborative, led

by top physicians on the staff of Duke University, found that that masking was effective in

preventing in-school COVID-19 transmission regardless of the physical distance maintained

between children as part of social-distancing efforts.11

           27.   Moreover, “when teachers, staff, and students consistently and correctly wear a

mask, they protect others as well as themselves.”12 The cloth layer blocks the droplets from

releasing into the environment, along with the microorganisms these particles carry. To be more

specific, masks block the large droplets (“20-30 microns and up”) as well as finer droplets too.13




10
  Office of Policy, Planning and Assessment (2009). Childhood Asthma in Tennessee, 1997-2007. TN
Department of Health, Nashville, Tennessee, p. 3, https://www.tn.gov/content/dam/tn/health/documents/
Childhood_Asthma_Report_07.pdf
11
      https://abcsciencecollaborative.org/wp-content/uploads/2021/06/ABCs-Final-Report-June-2021.06-
esig-DB-KZ-6-29-21.pdf?fbclid=IwAR3XDNVh44k8mrrfd2rcJz8rm-zOdtmlouMDkt-
Tt3P3zXicWQeeU5E6wA8
12
     Id.

13
       Science Brief: Community Use of Cloth Masks to Control the Spread of SARS-CoV-2,
available     at    https://www.cdc.gov/coronavirus/2019-ncov/science/science-briefs/masking-
science-sars-cov2.html (last visited Sept. 2, 2021).

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          28.    Thus, the CDC,14 the American Academy of Pediatrics,15 and Le Bonheur

Children’s Hospital and the University of Tennessee Health Sciences Center16 have all

recommended universal masking in schools in an effort to reduce the risk of transmission of

COVID-19.

          29.    Governor Lee agreed with this policy recommendation: “If you want to protect

your kid from the virus or from quarantine, the best way to do that is to have your kid in

school with a mask.”17 However, the protection is not just for “your kid,” but for “other kids

too.”

          30.    Likewise, Tennessee Department of Health Commissioner, Dr. Lisa Piercy, has

recently supported this recommendation: “There’s not a single person that doesn’t agree that

keeping kids healthy and keeping them in the classroom is the best,” she said. “One incredibly

effective way to do that is for schools and for parents to use the best tool we have for unvaccinated

children, and that’s masking up their students.”18

          31.    Further, the Tennessee Attorney General has recognized both the constitutionality

of a mask mandate as well as its necessity: “Here, the State’s interest in protecting the safety of




14
    CDC, Guidance for COVID-19 Prevention in K-12 Schools, updated Aug. 5, 2021,
https://www.cdc.gov/coronavirus/2019-ncov/community/schools-childcare/k-12-guidance.html
15
   https://www.aap.org/en/pages/2019-novel-coronavirus-covid-19-infections/clinical-guidance/covid-19-
planning-considerations-return-to-in-person-education-in-schools/
16
 https://www.lebonheur.org/files/patient-education-materials/Back-to-School%20Task%20Force%
20Le%20Bonheur%20Children's%20UTHSC%20Recommendations%20Updated%20FINAL%20August
%202021.pdf
17
      Children now account for 36% of Tennessee’s virus cases,                         available    at
https://www.wate.com/news/children-now-account-for-36-of-tennessees-virus-cases/
18
     https://www.kfvs12.com/2021/08/25/gov-lee-recommends-children-wear-masks-schools/

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the public would indeed be less effectively achieved without a mandate that requires the wearing

of a face covering in public during the COVID-19 pandemic.”19

          32.     Accordingly, the entirely reasonable modification being sought in this case is

community masking: protection of selves and others. Such a universal masking mandate has been

successfully implemented in large public school districts, including Knox County implementing

its mask mandate for the entirety of 2020-2021, without disruption, prior to the Governor’s

Executive Order 84.

         D. A PURELY VOLUNTARY OPT-OUT OF MASKING PITS CHILDREN AGAINST EACH
                  OTHER AND CREATES SERIOUS RISK OF INJURY AND DEATH

          33.     As schools have reopened, COVID-19 infection numbers among school aged

children have continued to rise.20

          34.     By mid-August 2021, WCS’s middle schools had over 33% student and 30%

staffing absences.21

          35.     Williamson County Board of Education on August 10, 2021, voted to require masks

for students, staff and visitors to the elementary grade levels, but allowed teachers who are

distanced at least 6 feet to remove their masks. It also allowed exemptions for religious and health

reasons.22      Williamson County Board of Education has no masking requirement for non-

elementary school children, teachers, staff, or visitors.




19
     https://www.tn.gov/content/dam/tn/attorneygeneral/documents/ops/2020/op20-14.pdf
20
        https://www.kfvs12.com/2021/08/25/gov-lee-recommends-children-wear-masks-schools/
(noting on August 25, 2021 that there had been 14,000 pediatric cases in last seven days, with
1,300 emergency room visits)
21
 Ex. A: August 24, 2021 Letter to Senator Johnson, Representatives Casada, Ogles and
Whitson from WCS and FSSD Superintendents.
22
     https://meeting.boeconnect.net/Documents/CustomMinutesForMeeting/566?meeting=490933

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         36.    Despite his clear understanding of the necessity of education and protecting the

health and lives of children, Governor Lee on August 16, 2021 issued Executive Order No. 84

allowing parents to opt their children out of any mask mandate.

         37.    This purely voluntary opt-out pits child-against-child, endangering the lives of

children with disabilities. Parents of school children with disabilities are forced to hope other

parents will require masking, and not opt out. But when they do opt out of masking, the children

with disabilities are subjected to serious reactions or even death as a result of COVID-19 being

spread through unmasked breathing, coughing and sneezing.23

         38.    On August 23, 2021, the Franklin Special School District issued a mask mandate

due to the rapidly rising numbers of COVID-19 infections in its schools. The mask mandate,

however, consistent with Governor Lee’s Executive Order No. 84, allowed parents to opt-out their

children from the mask requirement.

         39.    By August 24, 2021, both WCS and FSSD reported that they had schools close to

the “crisis point” of having insufficient staffing to keep the schools open due to the number of staff

out due to infections with COVID-19.24 Despite the acknowledgement of the toll the pandemic

was taking on its schools, WCS and FSSD refused to implement a school-wide universal masking

requirement for students K-12 that did not contain an opt-out provision.

         40.    The Plaintiffs have requested universal masking as an accommodation for their

children with a disability, with J.K., mother of R.K., explaining the needs publicly to the WCS

Board.



23
        While Gov. Lee’s Executive Order No. 84 was purportedly issued pursuant to Tenn. Code Ann. §
58-2-107, it was not issued to “address[] the dangers presented to this state and its people by” the emergency
present by COVID-19 and thus exceed his legal authority under the statute.
24
 Ex. A: August 24, 2021 Letter to Senator Johnson, Representatives Casada, Ogles and Whitson from
WCS and FSSD Superintendents.

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          41.    Scores of children are opting out, nullifying masking, spreading COVID, and

creating unnecessary risk of severe illness or even death for children with disabilities. Even with

COVID-19 rapidly spreading through its schools, Williamson County Schools have seen 13,231

children opt-out of the mandatory masking policy-- 31.85% of the students.25 FSSD has allowed

children to opt-out of its masking requirement, and they have done so as well, though it has not

published the number or rates of opt-out to the public.

          42.    At these schools, the named Plaintiffs and those similarly situated attend classes in

close proximity to unmasked students, faculty, and staff.

          43.    Named Plaintiffs and those similarly situated use the same hallways, bathrooms,

lunchrooms, and classrooms as their fellow-masked and unmasked classmates.

          44.    Named Plaintiffs are entitled to safe, fundamental and non-discriminatory access to

their school buildings with masked teachers, custodians, and students.

          45.    The necessity for such masking is greater now than ever. Yet Governor Lee’s

Executive Order and the policies of Williamson County Board of Education and the Franklin

Special School District allowing parents to opt-out of a universal mask mandate policy subjects

children with certain disabilities to serious illness or even death by exercising their fundamental,

non-discriminatory right to access their public institutions.

                                     V. CLASS ALLEGATIONS

          46.    Plaintiffs bring this action pursuant to Rule 23(b)(2) of the Federal Rules of Civil

Procedures on behalf of themselves and a class of similarly situated individuals consisting of all

students with disabilities that make them medically vulnerable to severe infection and/or death

from COVID-19 and who attend public school in Williamson County, Tennessee (the “Class”).




25
     https://www.wcs.edu/Page/8598
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       47.     The Class is defined as follows: all current and future K-12 students attending, or

zoned to attend, public school in Williamson County, Tennessee during the coronavirus pandemic

who are unable to obtain a vaccine either because of their age or for whom the vaccine is of limited

efficacy due to their compromised or suppressed immune system, as well as all current and future

children who attend school in Williamson County who have: (a) lung disease, including asthma,

chronic obstructive pulmonary disease (e.g., bronchitis or emphysema), or other chronic conditions

associated with impaired lung function; (b) heart disease, such as congenital heart disease,

congestive heart failure and coronary artery disease; (c) chronic liver or kidney disease (including

hepatitis and dialysis patients); (d) diabetes or other endocrine disorders; (e) hypertension; (f)

compromised immune systems (such as from cancer, HIV, receipt of an organ or bone marrow

transplant, as a side effect of medication, or other autoimmune disease); (g) blood disorders

(including sickle cell disease); (h) inherited metabolic disorders; (i) history of stroke; (j)

neurological or developmental disability; (k) cancer or cancer treatments; and/or (l) muscular

dystrophy or spinal cord injury. The “Under-Twelve Subclass” are all individuals who are

members of the Class who are also under the age of twelve years and therefore ineligible to receive

any vaccine for COVID-19 as currently approved by the FDA.

       48.     This action has been brought and may properly be maintained as a class action

under federal law. It satisfies the numerosity, commonality, typicality, and adequacy requirements

for maintaining a class action under Fed. R. Civ. P. 23(a).

       49.     Joinder is impracticable because (1) the Class is numerous; (2) the Class includes

future members, and (3) the Class members includes many individuals who are incapable due to

limited financial means of instituting individual lawsuits.

       50.     Numerosity: On information and belief, there are well beyond the necessary

number of children in the proposed Class to warrant class certification. Thousands of children in


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Williamson County public schools have one or more of the listed conditions that make them

medically vulnerable to severe reaction or death from infection by COVID-19.

       51.     Commonality: Common questions of law and fact exist as to all members of the

proposed Class, including: (a) whether the policies and practices of Governor Bill Lee, the

Williamson County Board of Education, and the Franklin Special School District discriminate

against the members of the Class in violation of the ADA and the Rehabilitation Act by preventing

or refusing to provide for a reasonable modification of community masking under those laws.

       52.     Typicality: The claims of the Named Plaintiffs are typical of those of the Class as

a whole, including because (a) each Named Plaintiff is currently attending, or zoned to attend,

public school in Williamson County, Tennessee and (b) the Named Plaintiffs’ and all of the Class

members’ claims arise from the same wrongful acts, omissions, policies, and practices of

Defendants, and are based on the same legal theories.

       53.     Adequacy: The Named Plaintiffs have the requisite personal interest in the outcome

of this action and will fairly and adequately protect the interests of the Class. The Named Plaintiffs

have no interests adverse to the interests of the proposed Class. The Named Plaintiffs retained

counsel with experience and success in the prosecution of civil rights litigation. Counsel for the

Named Plaintiffs know of no conflicts among proposed Class members or between counsel and

proposed Class members. Plaintiffs’ chosen counsel includes:

       (a)     Bryce Ashby of Donati Law, PLLC. Mr. Ashby is a distinguished member of the

Tennessee Bar, the Memphis Bar, the Federal Bar, and the American Bar Associations. His

practice focuses on employment, civil rights, and labor violations committed by public and private

actors specifically including municipal, state, and federal governmental entities and frequently

include claims arising under the Civil Rights Act, Americans with Disabilities Act, the

Rehabilitation Act. Mr. Ashby is counsel on two putative class actions arising out of violations of


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the Trafficking Victims Protection Act and has handled multiple collective actions under the Fair

Labor Standards Act as lead counsel.       He is counsel for the similar putative class case in the

Western District of Tennessee, G.S. et al. v. Gov. Bill Lee et al., Case No. 21-cv-2552-SHL-atc

(Judge Lipman).

       (b)     Brice M. Timmons of Donati Law, PLLC. Mr. Timmons is a distinguished member

of the Tennessee Bar, the Memphis Bar, the Federal Bar, and the American Bar Associations. His

practice focuses almost exclusively on civil rights violations committed by public and private

actors specifically including municipal governments, educational institutions, both public and

private, jails, prisons, and private prison contractors, often including claims arising under the

Americans with Disabilities Act, Individuals with Disabilities Education Act, and Section 504 of

the Rehabilitation Act. Mr. Timmons has significant experience representing disabled, minor

plaintiffs in suits against their caregivers and educational institutions. Mr. Timmons has handled

and/or tried hundreds of cases during that time period. Mr. Timmons has also been appointed class

counsel in two civil rights actions, including one arising under the Americans with Disabilities Act

and is putative class counsel in an action arising under the Trafficking Victims Protection

Reauthorization Act in the District of Wyoming in which he represents a putative class of former

minor residents of facilities fraudulently purporting to treat mental health issues in minor children.

Specifically, Mr. Timmons has been appointed lead class counsel in Busby v. Bonner, 2:20-cv-

02359 (TNWD, 2020), in which, along with the American Civil Liberties Union and others, he

represents a class of incarcerated persons who are especially vulnerable to COVID-19 on claims

arising under various federal civil rights statutes including the Americans with Disabilities Act and

in which he and his co-counsel received class certification prior to ultimately negotiating the most

comprehensive consent decree achieved to date in the plethora of civil rights actions brought in

response to the COVID-19 pandemic’s impact on individuals medically vulnerable to COVID-19.


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He has also been appointed lead class counsel in Turnage v. Oldham, 2:16-cv-02907 (TNWD,

2016) in which he represents a putative class of persons subjected to overdetention due to the

employment of a faulty software package to operate the county jail and criminal courts in claims

arising under 42 U.S.C. §1983 and Tennessee common law in which he and his co-counsel

negotiated a settlement that has received preliminary approval and has been funded in the amount

of $4.9 Million. He is counsel for the similar putative class case in the Western District of

Tennessee, G.S. et al. v. Gov. Bill Lee et al., Case No. 21-cv-2552-SHL-atc (Judge Lipman).

       (c)     Craig A. Edgington of Donati Law, PLLC. Mr. Edgington is a distinguished

member of the Tennessee Bar and the Federal bar. Like Mr. Timmons, his practice focuses almost

exclusively on civil rights violations committed by public and private actors specifically including

municipal governments, educational institutions, both public and private, jails, prisons, and private

prison contractors, often including claims arising under the Americans with Disabilities Act,

Individuals with Disabilities Education Act, and Section 504 of the Rehabilitation Act. Mr.

Edgington also has experience representing disabled, minor plaintiffs in suits against their

caregivers and educational institutions. Mr. Edgington is also counsel in each of the civil rights or

class actions identified by Mr. Timmons. He is counsel for the similar putative class case in the

Western District of Tennessee, G.S. et al. v. Gov. Bill Lee et al., Case No. 21-cv-2552-SHL-atc

(Judge Lipman).

       (d)     Justin S. Gilbert of Gilbert Law, PLLC is a distinguished member of the Tennessee

Bar, licensed to practice in the Middle District, Sixth Circuit, and United States Supreme Court.

Mr. Gilbert’s practice focuses primarily on civil rights in education, including the ADA and

Section 504 and the Individuals with Disabilities Education Act (IDEA). He has represented

students under Title II of the ADA and Section 504, school teachers under Title I and Section 504,

and citizens seeking public accommodations under Title III of the ADA. He has represented


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students with disabilities against both state and local governments, including the Tennessee

Department of Education. He has handled class action cases brought under Title VII, the Fair

Labor Standards Act, the Americans with Disabilities Act, and under state common laws in

Tennessee. He is counsel in the similar putative class case involving Knox County Board of

Education, Case No. 3:21-cv-00317 (Judge Greer).

       (e)     Jessica F. Salonus of The Salonus Firm, PLC is a distinguished member of the

Tennessee Bar, licensed to practice in all state and federal courts in Tennessee as well as the Sixth

Circuit. Her practice almost exclusively focuses on civil rights in education, routinely handling

cases under the ADA, Section 504, and the Individuals with Disabilities Education Act (IDEA)

that involve both local school districts and the state of Tennessee. She has also represented

teachers under Title I of the ADA and Section 504 and citizens seeking public accommodations

under Title III of the ADA. She has previously and is currently counsel for class action cases

brought under the Americans with Disabilities Act and Section 504. Along with Mr. Gilbert, she

is counsel in the similar putative class case involving Knox County Board of Education, Case No.

3:21-cv-00317 (Judge Greer).

       54.     Defendants have acted on grounds generally applicable to all proposed Class

members. This action seeks declaratory and injunctive relief. Plaintiffs therefore seek Class

certification under Rule 23(b)(2).

       55.     In the alternative, the requirements of Rule 23(b)(1) are satisfied because

prosecuting separate actions would create a risk of inconsistent or varying adjudications with

respect to individual Class members that would establish incompatible standards for the party

opposing the proposed Class.




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                                     VI. CAUSES OF ACTION

                                    First Cause of Action:
               Discrimination on the Basis of Disability in Violation of the ADA

        56.     Plaintiffs, on behalf of themselves and those similarly situated, repeat and re-allege

each and every allegation above, as if set forth in full herein.

        57.     "In the ADA, Congress provided [a] broad mandate" to "effectuate its sweeping

purpose[ to] ... forbid[] discrimination against disabled individuals in major areas of public life,

[including] ... public services ...." PGA Tour, Inc. v. Martin, 532 U.S. 661, 675 (2001). It is “’a

milestone on the path to a more decent, tolerant, progressive society.'" Id. (quoting Bd. of Trustees

of Univ. of Ala. v. Garrett, 531 U.S. 356, 375 (2001) (Kennedy, J., concurring)).

        58.     Enactment of the ADA reflected deeply held American ideals that treasure the

contributions that individuals can make when free from arbitrary, unjust, or outmoded societal

attitudes and practices that prevent the realization of their full potential.

        59.     The ADA embodies a public policy committed to the removal of a broad range of

impediments to the integration of people with disabilities into society and strengthening the federal

government’s role in enforcing the standards established by Congress.

        60.     The ADA requires that “no qualified individual with a disability shall, by reason of

such disability, be excluded from participation in or be denied the benefits of the services,

programs, or activities of a public entity, or be subjected to discrimination by any such entity.” 42

U.S.C. § 12132.

        61.     Governor Lee’s Executive Order is denying local school districts the ability to

provide these similarly children in the instant matter with the protections they need to attend school

safely. Further, in failing to adopt a universal masking policy, the Williamson County Board of

Education and the FSSD have placed the lives of medically vulnerable children who have




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disabilities under the ADA in danger. In doing so, Defendants have violated the regulations and

provisions of the ADA:

                a.      Defendants are failing to make a reasonable modification, and/or are

                preventing the school districts attended by the Class from making a reasonable

                modification, under circumstances where it is required, in violation of 28 C.F.R. §

                35.130(b)(7);

                b.      Defendants are excluding, and/or are causing the school districts of

                Williamson County, Tennessee to exclude Plaintiffs from participation in public

                education in violation of 42 U.S.C. § 12132 and 28 C.F.R. § 35.130;

                c.      Defendants are failing to make, and/or causing Plaintiffs’ school districts to

                fail to make, their services, programs, and activities “readily accessible” to disabled

                individuals, in violation of 28 C.F.R. § 35.150;

                d.      Defendants are administering a policy that has the effect of subjecting

                qualified individuals with disabilities to discrimination on the basis of disability

                and that has the purpose or effect of defeating or substantially impairing

                accomplishment of the objectives of the public entity’s program with respect to

                individuals with disabilities, in violation of 28 C.F.R. § 35.130(b)(3).

        62.     The ADA further prohibits any public entity from, either directly or through

contractual or other arrangements, using any criteria or methods of administration that (a) have the

effect of subjecting qualified individuals with disabilities to discrimination on the basis of

disability and/or (b) perpetuate the discrimination of another public entity if both public entities

are subject to common administrative control or are agencies of the same State. 28 C.F.R. §§

35.130 (b)(3)(i) & (iii).




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       63.     Defendant Lee, in his official capacity as Governor of the State of Tennessee,

WCBE, and the FSSD do not have the authority to circumvent the ADA and its protections for

students with disabilities through executive order or guidance requirements.

       64.     Excluding children with disabilities which make them more susceptible to serious

illness or death from COVID-19 from the public school classrooms by a failure or refusal to

provide a reasonable modification (universal masking) for their disability is precisely the type of

discrimination and segregation that the ADA and its amendments aim to prevent and specifically

prohibit.

                                    Second Cause of Action:
                   Violation of Section 504 of The Rehabilitation Act of 1973
                                     Against All Defendants

       65.     Plaintiffs, on behalf of themselves and those similarly situated, do repeat and re-

allege the allegations in previous paragraphs of this Complaint as if fully alleged herein.

       66.     Plaintiffs and those similarly situated are children with disabilities that substantially

limit one or more major life activity, and therefore, are considered to be persons with a disability

under Section 504 of the Rehabilitation Act, as amended. See 29 U.S.C. § 705(9)(B), as amended

by the ADA Amendments Act, Pub. L. 110-325, Sec. 7, 122 Stat. 3553 (Sept. 25, 2008).

       67.     Plaintiffs are otherwise qualified under Section 504 of the Rehabilitation Act

because they meet the essential eligibility requirements for public education in the state of

Tennessee.

       68.     Defendant Lee, in his official capacity, the WCBE, and the FSSD are the recipients

of federal financial assistance.

       69.     Governor Lee’s Executive Order is denying local school districts and public health

authorities the ability to provide these similarly situated children with the accommodations they

need to attend school safely.


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       70.     Defendants WCBE and FSSE are refusing to provide a universal masking policy as

the accommodation medically vulnerable children with disabilities need to attend school safely.

       71.     Defendants have violated the regulations and provisions of Section 504, and/or

caused Plaintiffs’ school districts to violate the regulations and provisions of Section 504, as

follows:

               a.      Defendants are excluding, and/or are causing Plaintiffs’ school districts to

       exclude Plaintiffs from participation in public education in violation of 29 U.S.C. § 794(a)

       and 34 C.F.R. § 104.4(b)(1)(i);

               b.      Defendants are using methods of administration that have the effect of

       subjecting Plaintiffs to discrimination on the basis of disability in violation of 34 C.F.R. §

       104.4(b)(4);

               c.      Defendants are using methods of administration that have the effect or

       purpose of defeating or substantially impairing accomplishment of the objectives of the

       public education provided by Plaintiffs’ school districts, in violation of 34 C.F.R. §

       104.4(b)(4).

       72.     Defendants do not have the authority to circumvent Section 504 and its protections

for students with disabilities through executive order or guidance requirements.

       73.     Excluding children with disabilities which make them more susceptible to serious

illness or death from COVID-19 from public school classrooms by a failure or refusal to provide

a reasonable modification (universal masking) for their disability is precisely the type of

discrimination and segregation that Section 504 aims to prevent and specifically prohibit.

  VII. REQUEST FOR TEMPORARY RESTRAINING ORDER AND PRELIMINARY
                           INJUNCTION

       74.     Plaintiffs repeat and re-allege the allegations in previous paragraphs of this

Complaint as if fully alleged herein.

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       75.     Plaintiffs seek a temporary restraining order enjoining Defendant Governor Lee

from enforcing Executive Order No. 84.

       76.     Plaintiffs seek a temporary restraining order requiring Defendants WCBE and

FSSD to implement a universal masking policy without the general opt-out policy ordered by

Governor Lee’s Executive Order.

       77.     Plaintiffs seek a preliminary injunction enjoining Defendant Governor Lee during

the course of this litigation from enforcing Executive Order No. 84.

       78.     Plaintiffs seek an injunction against Defendants WCBE and FSSD ordering a

universal masking policy for all students and staff.

                                 VIII. PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs and those similarly situated respectfully request that this Court

grant the following relief:

               A.      Assume jurisdiction of this action;

               B.      Certify this Petition as a class action;

               C.      Declare that Governor Lee’s Executive Order No. 84 violates the rights of

       Plaintiffs and those similarly situated under the Americans with Disabilities Act and

       Section 504;

               D.      Declare that Defendants WCBE and FSSD’s policies not requiring

       universal masking violate the rights of the Plaintiffs and those similarly situated under the

       Americans with Disabilities Act and Section 504;

               E.      Issue a temporary restraining order enjoining Governor Lee from violating

       the Americans with Disabilities Act and Section 504 by permitting parents in the schools

       of Williamson County from opting out of a universal mask mandate policy;




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           F.      Issue preliminary and permanent injunctive relief enjoining Governor Lee

    and the State of Tennessee from violating the Americans with Disabilities Act and Section

    504 by permitting parents to opt-out of reasonable modifications required by the ADA and

    Section 504;

           G.      Issue a temporary restraining order enjoining Defendants WCBE and FSSD

    from violating the Americans with Disabilities Act and Section 504 by not implementing

    a universal masking policy;

           H.      Issue a preliminary and permanent injunctive relief enjoining Defendants

    WCBE and FSSD from violating the Americans with Disabilities Act and Section 504 by

    not implementing a universal masking policy;

           I.      Award Plaintiffs their reasonable attorneys’ fees, costs, and expenses

    pursuant to 42 U.S.C. § 1988; and

           J.      Grant such other and further relief as may be just, equitable and proper.




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